Case 2:03-cV-02451-.]DB-STA Document 26 Filed 06/07/05 Page 1 of 2 Page|D 31

IN THE UNITED sTATEs DISTRICT CoURT man 11-1..-~ 1 F§€---°-°“
FoR THE wEsTERN DIsTRICT oF TENNESSEE " m 3= 50
WESTERN DIVIsIoN 95 JU“ ”7
wm 1 R 531 Troli)
GARDEN CITY BOXING CLUB, INC., grew uT\1 s o11sT.CT

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As Broadcast Licensee of the June 8, 2002 ‘“ m OF m mar

LEWIS/TYSON, Prograrn,
Plaintiff,
v. No. 03-2451-B/An

P & c CAFE, INC. cub/a P & C CAFE
a/i</a AFTER DARK BAR & GRILL, er ai.,

Defendants.

 

ORDER OF REFERENCE

 

This matter is referred to the United States Magistrate Judge for a hearing on damages
and for a report and recommendation Any objections to the magistrate judge's report and
recommendation shall be made Within ten (10) days after service of the report, setting forth
particularly those portions of the report objected to and the reasons for the objections. Failure to
timely assign as error a defect in the magistrate judge's report Will constitute a waiver of that
objection. S_eg Rule 72(a), Federal Rules of Civii Procedure.

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IT IS SO ORDERED this _(_¢; day of June, 2005 .

rM

J. DANIEL BREENF
UN Eo sTATEs DISTRICT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 26 in
case 2:03-CV-02451 Was distributed by faX, mail, or direct printing on
June 13, 2005 to the parties listed.

 

 

Wayne D. Lonstein
LONSTEIN LAW OFFICE PC
1 Terrace Hill

P.O. BOX 3 51

Ellenville, NY 12428

Honorable S. Anderson
US DISTRICT COURT

